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USDC SDNY |

UNITED STATES DISTRICT COURT DOCUMENT

SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED |

Og ap aagpIAA x | DOC #:
-against . ORDER

16 CR 545 (KMW)
JUNIOR ORTIZ,

Defendant.
KIMBA M. WOOD, District Judge:
The Court will hold a teleconference in the above-captioned case on Tuesday, January 5,
2021, at 11:00 a.m.
To join the teleconference, the parties should dial 888-363-4749, and enter access code
1613818.
SO ORDERED.

Dated: New York, New York
December 30, 2020

Ite vn. Wr

KIMBA M. WOOD
UNITED STATES DISTRICT JUDGE

 
